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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                            BUTTE DIVISION


UNITED STATES OF AMERICA,                          CR 23–01–BU–DLC

             Plaintiff,

       vs.                                                ORDER

BO JORDAN BRADLEY,

             Defendant.


      Before the Court is Defendant’s Unopposed Motion to Allow Remote

Witness Testimony of Witness at Sentencing. (Doc. 42.) Paula Mills, serves as

Defendant’s counselor in Bozeman, Montana. (Id. at 1.) The basis for this motion

is to allow Ms. Mills to remotely attend the sentencing hearing scheduled on

September 21, 2023, due to the demands of her professional schedule. (Id.) The

United States does not oppose the motion. (Id.)

      Accordingly, IT IS ORDERED that the motion (Doc. 42) is GRANTED.

      DATED this 15th day of September, 2023.




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